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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                      )
CORPORATION, et al.,                             )
                                                 )
                                                 )
                                                 )
               Plaintiffs,                       )
                                                 )
       v.                                        )
                                                           Case No. 8:16-cv-00860-DKC
                                                 )
FINANCIAL INDUSTRY                               )
REGULATORY AUTHORITY, INC.,                      )
                                                 )
                                                 )
               Defendant.                        )
                                                 )
                                                 )

                      PLAINTIFFS’ MOTION FOR PRELIMINARY
                     INJUNCTION AND PERMANENT INJUNCTION

       Scottsdale Capital Advisors Corporation (“SCA”), John J. Hurry, Timothy B. DiBlasi,

and D. Michael Cruz (collectively “Plaintiffs”) respectfully request an order preliminarily and

permanently enjoining the Financial Industry Regulatory Authority, Inc. (“FINRA”) from

continuing to prosecute an ultra vires disciplinary proceeding against Plaintiffs.

       SCA is a FINRA-registered broker-dealer. Mr. Hurry is SCA’s co-founder and one of its

directors. Mr. DiBlasi is SCA’s Chief Compliance Officer. Mr. Cruz is SCA’s former President.

FINRA is a private, non-governmental body that regulates broker-dealers. FINRA’s statutory

mandate is limited to enforcing violations of the Securities Exchange Act of 1934 (the

“Exchange Act”). Despite this, FINRA has instituted a disciplinary proceeding against Plaintiffs

for alleged violations of a separate statute—the Securities Act of 1933 (the “Securities Act”). In
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so doing, FINRA has violated the securities-industry regulatory scheme devised by Congress,

which vests the Securities and Exchange Commission with exclusive authority to bring

disciplinary proceedings against broker-dealers and their associated persons for alleged

violations of the Securities Act (and other specified federal securities laws).

       FINRA’s disciplinary proceeding is scheduled for a two-week hearing commencing June

13, 2016. Plaintiffs’ preparation for the hearing, including incurring significant legal fees and

expenses for the completion of witness and exhibit lists and pre-hearing briefing, will begin

imminently, with significant deadlines approaching in mid-April. Accordingly, preliminary and

permanent injunctive relief is necessary, both to preserve Plaintiffs’ right not to be subjected to

an ultra vires legal proceeding and to shield Plaintiffs from irreparable reputational and financial

harm, as well as the irremediable loss of their claims through mootness.

       Accordingly, Plaintiffs respectfully request that this Court grant a preliminary and

permanent injunction restraining and enjoining FINRA from continuing the disciplinary

proceeding in FINRA Case No. 2014041724601, and any further relief this Court deems proper.

       A memorandum of law and supporting evidence, and proposed order is attached.




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Dated: March 22, 2016                     Respectfully submitted,

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                                          ___________________________________
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of March, 2016, I caused a true and correct copy of
the foregoing Motion for Preliminary Injunction and Permanent Injunction and all attachments,
and the Complaint in this action, to be served on all parties via electronic mail and Federal
Express, overnight delivery, as follows:

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       Chief Litigation Counsel
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       Counsel for Defendant Financial Industry Regulatory Authority, Inc.


                                               /s/ Matthew H. Kirtland
                                               ______________________________
                                               Matthew H. Kirtland




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